     LOCAL FORM FOR A CHAPTER 13 PLAN UNDER FEDERAL RULE OF BANKRUPTCY PROCEDURE 3015.1 AND
                                  ADMINISTRATIVE ORDER NO. 17-04

                                                         UNITED STATES BANKRUPTCY COURT
                                                       FOR THE EASTERN DISTRICT OF MICHIGAN

IN RE:        Katrina Bolton

                                                                                   CASE NO. 19-31852
                                                                                   CHAPTER 13
S.S.#      xxx-xx- 5684                                                            JUDGE   Applebaum
         Debtor
                                                                                                    PLAN SUMMARY
and
                                                                                              For informational purposes only.
                                                                                   ACP: 36 Months
                                                                                   Minimum Plan Length: 60 Months
S.S.#                                                                              Plan payment: $ 467 per Month
     Joint-Debtor                                                                  Minimum dividend to Class 9 Creditors $ 0.00
             Debtor(s)                                                             Percentage of Tax Refunds committed 0%
__________________________________/


                                                                      CHAPTER 13 PLAN
                                         [X ] Original               OR [ ]Pre-Confirmation Modification #

I.       NOTICES
TO CREDITORS: YOUR RIGHTS MAY BE AFFECTED BY THIS PLAN. THIS PLAN MAY BE CONFIRMED AND
BECOME BINDING WITHOUT FURTHER NOTICE OR HEARING UNLESS A TIMELY WRITTEN OBJECTION IS
FILED. READ THIS DOCUMENT CAREFULLY AND CONSIDER SEEKING THE ADVICE OF AN ATTORNEY.
   Debtors must check one box on each line to state whether or not the Plan includes each of the following items:
 A. Nonstandard Provisions set out in Section IV. Under Federal Rule [X] Included                  □ Not included
     of Bankruptcy Procedure 3015(c), a “nonstandard provision”
     means a provision that is not otherwise included in the approved
     form for a Chapter 13 Plan in the Eastern District of Michigan.
 B. A limit on the amount of a secured claim based on a valuation of [ ] Included                  [X] Not included
     the collateral for the claim.
 C. Avoidance of a security interest or lien.                            □ Included                [X[ Not included
    IF AN ITEM IS CHECKED AS “NOT INCLUDED” OR IF BOTH BOXES ARE CHECKED, THE PROVISION IS
      VOID EVEN IF OTHERWISE INCLUDED IN THE PLAN. 

          ANY “NONSTANDARD PROVISION” THAT IS NOT SPECIFICALLY IDENTIFIED IN SECTION IV IS VOID.                                                   

          IF THIS SECTION I INDICATES THAT THIS PLAN DOES NOT INCLUDE ANY “NONSTANDARD
           PROVISIONS”, ANY “NONSTANDARD PROVISIONS” IN THIS PLAN (INCLUDING ANY OTHERWISE
           SPECIFICALLY LISTED IN SECTION IV) ARE VOID. 

THIS PLAN IS SUBJECT TO AND INCORPORATES BY REFERENCE THE ADDITIONAL STANDARD PROVISIONS
WHICH MAY BE FOUND AT WWW.13EDM.COM or WWW.MIEB.USCOURTS.GOV OR FROM DEBTOR'S COUNSEL
UPON WRITTEN REQUEST.
         I.A. continued: II.B.; II.C.; III.D.; III.H.; III.I.; IV. (as to format only); V.A.; V.D.; V.F.; V.K.;
         V.M.; V.N.; V.P.; V.U.; V.X.; Attachment #2.
II. APPLICABLE COMMITMENT PERIOD; PLAN PAYMENTS; PLAN LENGTH; EFFECTIVE DATE AND
    ELIGIBILITY FOR DISCHARGE:
Local Form 10-24-17 V 1
                                                                               1
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                           Best Case Bankruptcy

                 19-31852-jda                 Doc 6          Filed 08/05/19    Entered 08/05/19 14:11:21          Page 1 of 14
      A. □ Debtor’s Current Monthly Income exceeds the applicable State median income. Debtor’s Applicable Commitment Period
         is 60 months. Debtor’s Plan Length shall be 60 months from the date of entry of the Order Confirming Plan.
            [X] Debtor’s Current Monthly Income is less than or equal to the applicable State median income. Debtor’s Applicable
            Commitment Period is 36 months. Debtor’s Plan Length shall be 60 months from the date of entry of the Order Confirming
            Plan. This is a minimum Plan length. If the Plan has not been completed in the minimum Plan length, the Plan length shall
            be extended as necessary for completion of the requirements of the Plan; provided that in no event will the Plan term
            continue beyond 60 months from the date of entry of the Order Confirming Plan. See Paragraph J of the Additional Terms,
            Conditions and Provisions for additional information regarding Completion of Plan.
            If neither or both of the above boxes is checked, then the Applicable Commitment Period and the Plan Length shall be 60
            months from the date of entry of the Order Confirming Plan.
      B. Debtor’s plan payment amount is $ 467                        per month.
      C. Future Tax Refunds. See Paragraph A of the Additional Terms, Conditions and Provisions for additional information
         regarding Tax Refunds and Tax Returns.
 FOR CASES ASSIGNED TO FLINT DIVISION: Check only one box. If none are checked or more than one box is checked,
 paragraph 2 shall apply:
 1. □ Debtor’s Plan proposes a 100% dividend to unsecured creditors. Therefore, debtor is not required to remit any future tax
     refunds.

 2.    □ Debtor’s Plan proposes less than a 100% dividend to unsecured creditors and debtor’s Schedule I does not include a pro-ration
       for anticipated tax refunds. Debtor will remit 100% of all Federal Tax Refunds that Debtor receives or is entitled to receive after
       commencement of the case.

 3.    [ ] Debtor’s Plan proposes less than a 100% dividend to unsecured creditors and debtor’s Schedule I includes a proration for
       anticipated Federal Tax Refunds. Debtor is not required to remit Federal Tax Refunds in excess of the amount of the proration
       shown on Schedule I.
      D. □ If the box to the immediate left is "checked", the debtor acknowledges that debtor is not eligible for a discharge pursuant to
         11 USC §1328.
            □ If the box to the immediate left is "checked", the joint debtor acknowledges that joint debtor is not eligible for a discharge
            pursuant to 11 USC §1328.
      E. □ If the box to the immediate left is "checked", the debtor or joint debtor is self-employed AND incurs trade credit in the
         production of income from such employment. Debtor shall comply with the requirements of Title 11, United States Code,
         and all applicable Local Bankruptcy Rules regarding operation of the business and duties imposed upon the debtor.
III. DESIGNATION AND TREATMENT OF CLASSES OF CLAIMS: See Paragraph F of the Additional Terms, Conditions
     and Provisions for additional information regarding the order in which claims are to be paid.
      A. Class One – TRUSTEE FEES as determined by statute.
      B. Class Two – ADMINISTRATIVE CLAIMS, INCLUDING ATTORNEYS FEES AND COSTS:
            1. PRE-CONFIRMATION ATTORNEY FEES: At confirmation of the Plan, Counsel shall elect to either:
                 a.     In lieu of filing a separate fee application pursuant to 11 USC §327 and §330, accept the sum of $ 3,500.00 for
                        services rendered plus $ 0.00 for costs advanced by Counsel, for total Attorney Fees and Costs of $ 3,500.00
                        through the Effective Date of the Plan. The total Attorney Fees and Costs less the sum paid to Counsel prior to the
                        commencement of this case as reflected in the Rule 2016(b) Statement leaving a net balance due of $ 3,500.00 ,
                        will be paid as an Administrative Expense Claim; or

                 b.     Request an award of compensation for services rendered and recovery of costs advanced by filing a separate
                        Application for Compensation for services rendered up through the date of entry of the Order Confirming Plan
                        pursuant to 11 USC §327 and §330. If Counsel elects to file a fee application pursuant to this sub-paragraph, the
                        Trustee shall escrow $1,500.00 for this purpose. See Paragraph B of the Additional Terms, Conditions and
                        Provisions for additional information.

            2. POST-CONFIRMATION ATTORNEY FEES: See Paragraph D of the Additional Terms, Conditions and Provisions
               for additional information.

Local Form 10-24-17 V 1
                                                                              2
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy

                 19-31852-jda                 Doc 6          Filed 08/05/19   Entered 08/05/19 14:11:21         Page 2 of 14
            3. RETENTION OF OTHER PROFESSIONALS FOR POST-PETITION SERVICES: Debtor □ has retained or □
               intends to retain the services of (name of person to be retained) as (capacity or purpose for retention) to perform
               professional services post-petition with fees and expenses of the professional to be paid as an Administrative Expense. See
               Paragraph C of the Additional Terms, Conditions and Provisions for additional information.
            4. OTHER ADMINISTRATIVE EXPENSE CLAIMS: Any administrative expense claims approved by Order of Court
               pursuant to 11 USC §503 shall be paid as a Class Two administrative claim. See Paragraph E of the Additional Terms,
               Conditions and Provisions for additional information.
      C. CLASS THREE – SECURED CLAIMS TO BE STRIPPED OR AVOIDED FROM THE COLLATERAL AND
         TREATED AS UNSECURED CLAIMS TO BE PAID BY TRUSTEE. See Paragraph G and Paragraph N of the
         Additional Terms, Conditions and Provisions for additional information.
            Class 3.1 Liens to be Stripped. 11 USC §506(a).
                                        Creditor                                                        Collateral

 None

            Class 3.2 Judicial Liens and Non-Possessory, Non-Purchase Money Liens to be Avoided. 11 USC §522(f).
                                        Creditor                                                        Collateral
 -NONE-

      D. CLASS FOUR - CLAIMS ON WHICH THE LAST CONTRACTUAL PAYMENT IS DUE BEYOND THE LENGTH
         OF THE PLAN. 11 USC §1322(b)(5).
            Class 4.1
                    Continuing Payments on a claim secured by the debtor's principal residence that come due on and after
                    the date of the Order for Relief. (See Paragraph P, Paragraph L and Paragraph EE of the Additional Terms,
                    Conditions and Provisions for additional information).
           Creditor                           Collateral                   Monthly Payment         Direct or Via Trustee
 21st Mortgage                  mobile home                                               305             Trustee
            Class 4.2          Pre-Petition Arrearages on a claim secured by the debtor's principal residence to be paid by Trustee:
                               Those amounts which were due as of the filing of the Order for Relief:
                                                                                                                   Months to Cure
                                                                                     Arrears     Estimated Average     From
                Creditor                                 Collateral                  Amount      Monthly Payment Confirmation Date
    st
 21 Mortgage                                   mobile home                                  1200                25                48

            Class 4.3     Continuing Payments other than on a claim secured by the debtor's principal residence that come due on
                          and after the date of the Order for Relief. (See Paragraph P, Paragraph L and Paragraph EE of the
                          Additional Terms, Conditions and Provisions for additional information).
                 Creditor                           Collateral                   Monthly Payment          Direct or Via Trustee
 -NONE-

            Class 4.4          Pre-Petition Arrearages other than on a claim secured by the debtor's principal residence to be paid by
                               Trustee: Those amounts which were due as of the filing of the Order for Relief:
                                                                                                   Estimated Average   Months to Cure From
                 Creditor                                       Collateral        Arrears Amount   Monthly Payment      Confirmation Date
 -NONE-


      E. CLASS FIVE - SECURED CLAIMS ON WHICH THE LAST PAYMENT WILL BECOME DUE WITHIN THE
         PLAN DURATION. (See Paragraph H, Paragraph L, Paragraph O, and Paragraph S of the Additional Terms, Conditions
         and Provisions for additional information).
            Class 5.1. Secured Claims not excluded from 11 USC §506 to be paid Equal Monthly Payments. 11 USC
                       §1325(a)(5)(B):



Local Form 10-24-17 V 1
                                                                              3
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy

                 19-31852-jda                 Doc 6          Filed 08/05/19   Entered 08/05/19 14:11:21          Page 3 of 14
                                                    Indicate if
                                                "crammed" *** or            Interest rate    Total to be paid
                                                     modified                 (Present         Including            Monthly
           Creditor/Collateral                                              Value Rate)          Interest           Payment          Direct or Via Trustee
*** See debtor's Schedule A/B for more information about values.
            Class 5.2. Secured Claims not excluded from 11 USC §506 not to be paid Equal Monthly Payments. 11 USC
                      §1325(a)(5)(B):
                                                    Indicate if                                                     Estimated
                                                 "crammed"***or             Interest rate                            Average
                                                     modified                 (Present       Total to be paid       Monthly
      Creditor/Collateral                                                   Value Rate)     including interest      Payment          Direct or Via Trustee
 -NONE-/


*** See debtor's Schedule A/B for more information about values.
            Class 5.3. Secured claims excluded from 11 USC §506 by the “hanging paragraph” at the end of 11 USC §1325(a)(9)
                      to be paid “Equal Monthly Payments”. 11 USC §1325(a)(5)(B).
                                                                            Interest rate
                                                      Indicate if             (Present       Total to be paid       Monthly
           Creditor/Collateral                        "modified             Value Rate)     Including interest      Payment          Direct or Via Trustee


            Class 5.4. Secured claims excluded from 11 USC §506 by the “hanging paragraph” at the end of 11 USC §1325(a)(9)
                      not to be paid Equal Monthly Payments. 11 USC §1325(a)(5)(B).
                                                                                                                   Estimated
                                                      Indicate if           Interest rate Total to be paid          Average
                                                      "modified               (Present       Including              Monthly
     Creditor/Collateral                                                     Value Rate)      interest             Payment           Direct or Via Trustee
 DFCU/08 Chevy                                 modified                                6.0            9500                  380              direct

            Class 5.5. Surrender of collateral. (See Paragraph P of the Additional Terms, Conditions and Provisions for additional
                      information).
The debtor(s) surrenders debtor’s interest in the following collateral. Any allowed unsecured claim remaining after disposition of the
collateral will be treated as a Class 9 General Unsecured Creditor.
                        Creditor Name                                                                Description of Collateral
      F.    CLASS SIX – EXECUTORY CONTRACTS AND/OR UNEXPIRED LEASES. 11 USC §§365, 1322(b)(7): Debtor assumes
            the executory contracts and unexpired leases listed in subparagraph 1. (See Paragraph K of the Additional Terms,
            Conditions and Provisions for additional information).
            Class 6.1. Continuing Lease/Contract Payments:
                                                                                                      Monthly          Lease/Contract         Direct or Via
                 Creditor                                            Property                         Payment          expiration date          Trustee
 -NONE-

            Class 6.2. Pre-petition Arrearages on Assumed Executory Contracts and Leases (to be paid by Trustee):
                                                                                                                 Estimated Average    Months to Cure From
                 Creditor                                        Property                   Arrears Amount       Monthly Payment       Confirmation Date
 -NONE-

            Class 6.3. Debtor rejects the executory contracts and unexpired leases listed in this subparagraph 3. Any unexpired
                       lease or executory contract that is neither expressly assumed in Class 6.1 above or expressly rejected below
                       shall be deemed rejected as of the date of confirmation of debtor’s chapter 13 plan to the same extent as if
                       that unexpired lease or executory contract was listed below. (See Paragraph K of the Additional Terms,
                       Conditions and Provisions for additional information):

Local Form 10-24-17 V 1
                                                                                      4
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy

                 19-31852-jda                 Doc 6          Filed 08/05/19           Entered 08/05/19 14:11:21                  Page 4 of 14
                                        Creditor                                                             Property
 -NONE-

      G. CLASS SEVEN – PRIORITY UNSECURED CLAIMS. 11 USC §§507, 1322(a)(2).
            Class 7.1. Domestic Support Obligations: Continuing Payments that come due on and after the date of the Order for
                       Relief:
                               Creditor                                   Monthly Payment                       Direct or Via Trustee
 -NONE-

            Class 7.2. Domestic Support Obligations: Pre-Petition Arrearages due as of the filing of the Order for Relief:
                                                                                            Estimated Average
                            Creditor                                 Arrears Amount         Monthly Payment               Direct or Via Trustee
 -NONE-

            Class 7.3. All Other Priority Unsecured Claims [11 U.S.C. §1322(a)(2)]
                               Creditor                                       Amount                            Direct or Via Trustee
 -NONE-

      H. CLASS EIGHT – SEPARATELY CLASSIFIED UNSECURED CLAIMS. 11 USC §1322(b)(1): (To be paid by
         Trustee): (See Paragraph M of the Additional Terms, Conditions and Provisions for additional information):
                                                                         Interest      Reason for Special
              Creditor                                Amount               Rate           Treatment                     Direct or Via Trustee
 -NONE-

      I.    CLASS NINE - GENERAL UNSECURED CLAIMS (to be paid by Trustee): – See Paragraph N of the Additional Terms,
            Conditions and Provisions for additional information.
       □           This Plan shall provide a total sum for distribution to creditors holding Class 9 General Unsecured claims in an amount
                   that is not less than the Amount Available in Chapter 7 shown on Attachment 1, Liquidation Analysis and Statement of
                   Value of Encumbered Property (the “Unsecured Base Amount”). This Plan shall provide either (i) the Unsecured Base
                   Amount; or (ii) will continue for the full Plan Length as indicated in Paragraph II.A of this Plan, whichever yields the
                   greater payment to Class 9 Unsecured Creditors. See Attachment 2, Chapter 13 Model Worksheet, Line 8, for additional
                   information concerning funds estimated to be available for payment to Class 9 Unsecured Creditors.

       □           This Plan shall provide a dividend to holders of Class 9 General Unsecured Claims equal to 100% of allowed claims.
      If neither box is checked or if both boxes are checked, then the plan shall pay the Unsecured Base Amount.
       □           If the box to the immediate left is "checked", creditors holding claims in Class Seven, Eight and Nine shall receive
                   interest on their allowed claims at the rate of 0.00% per annum as required by 11 USC §1325(a)(4).
IV. Nonstandard Plan Provisions:
            ANY "NONSTANDARD PROVISION" THAT IS NOT BOTH INCLUDED IN SECTION 1.A AND
             SPECIFICALLY STATED IN THIS SECTION IS VOID.  


               I.A. continued: II.B.; II.C.; III.D.; III.H.; III.I.; IV. (as to format only); V.A.; V.D.; V.F.; V.K.; V.M.; V.N.; V.P.; V.U.; V.X.;
               Attachment #2.

The following Additional Terms, Conditions, and Provisions, of Section V are changed as follows:

 A.        DEBTOR’S OBLIGATION TO REMIT TAX REFUNDS: Debtor shall not alter any withholding
           deductions/exemptions without Court approval. If the Internal Revenue Service or any State taxing authority
           remits to the Trustee any sum which the debtor is not required to remit pursuant to this Plan, then upon
           written request of the debtor and concurrence of the Trustee, the Trustee shall be authorized to refund those
           sums to the debtor from funds first available without further motion, notice or Order of Court. The Trustee
           shall not be required to recoup or recover funds disbursed to creditors prior to receipt of the debtor’s written


Local Form 10-24-17 V 1
                                                                               5
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                 Best Case Bankruptcy

                 19-31852-jda                 Doc 6          Filed 08/05/19    Entered 08/05/19 14:11:21                Page 5 of 14
           request.

           If debtor is married and debtor’s spouse is not a joint-debtor in this case, debtor’s Tax Refund(s) for any
           calendar year shall be 50% of the aggregate net Federal Tax Refunds received by debtor and debtor’s non-
           filing spouse, regardless of whether debtor and spouse file a joint tax return or file separate tax returns.



 D.        POST-CONFIRMATION ATTORNEY FEES & COSTS BY SEPARATE APPLICATION: Counsel reserves the right to
           file Applications for compensation for services rendered subsequent to the Confirmation of this Plan..

  F.      ORDER OF PAYMENT OF CLAIMS: All claims for which this Plan proposes payment through the Trustee shall be
          paid in the following order to the extent that funds are available:

          Level 1: Class 1

          Level 2: Class 2.1 and 2.2

          Level 3: Class 2.3 and 2.4

          Level 4: Class 5.1, 5.3, and 6.1

          Level 5: Classes 4.1 and 4.3

          Level 6: Classes 4.2, 4.4, 5.2, 5.4, and 6.2

          Level 7: Class 7

          Level 8: Class 8

          Level 9: Classes 3.1, 3.2, 5.5, 6.3, and 9.

          Each level shall be paid as provided in this Plan before any disbursements are made to any subordinate class. If there are
          not sufficient funds to pay all claims within a level, then the claims in that level shall be paid pro rata.

 K.        EXECUTORY CONTRACTS AND/OR UNEXPIRED LEASES:

           1.    Any executory contract or unexpired lease not expressly assumed in Class 6.1 or in the Order Confirming Plan shall
                 be deemed rejected effective as of the Effective Date of this Plan.

           2.    Upon rejection of any Executory Contract or Unexpired Lease, the property and debtor’s interest in the rejected
                 executory contract or unexpired lease will no longer be property of the estate and the stay under 11 USC §362(a)
                 shall automatically terminate as to such property. Any claims arising from the rejection of an executory contract or
                 unexpired lease shall be treated as a general unsecured claim in Class Nine, subject to further Order of Court.

           3.    For all assumed executory contracts and unexpired leases, confirmation of this Plan shall constitute a finding that
                 this Plan complies with all requirements for assumption of the executory contracts and unexpired leases being
                 assumed, including all requirements set forth in 11 USC §365(b).

           4.    Upon the termination of the Lease (whether as a result of the expiration of the contractual lease term, repossession
                 of the property which is the subject of the Lease, or otherwise), the Lessor shall have the right to file a
                 Supplemental Claim for any damages or charges permitted under or pursuant to the Lease.

           5.    If Class 6.1 provides for the Continuing Lease/Contract Payments to be made by the Trustee, the Supplemental
                 Claim as filed and allowed shall be paid by the Trustee over the remaining term of the Plan.

           6.    If Class 6.1 provides for the Continuing Lease Payments to be made directly by the debtor to the Lessor, the
                 Supplemental Claim as filed and allowed shall be paid directly by the debtor to the creditor over the remaining term
Local Form 10-24-17 V 1
                                                                              6
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy

                 19-31852-jda                 Doc 6          Filed 08/05/19   Entered 08/05/19 14:11:21        Page 6 of 14
                 of the Plan. If there is a balance outstanding on the supplemental claim as of the completion of debtor’s confirmed
                 Chapter 13 Plan, this balance shall not prevent or preclude the entry of a discharge in this case; instead, this balance
                 shall be deemed non-dischargeable and debtor shall be responsible for payment of the remaining balance of the
                 Supplemental Claim following the entry of a Discharge.



 M.        SEPARATELY CLASSIFIED UNSECURED CLAIMS: Claims classified as “Separately Classified Unsecured Claims”
           are unsecured claims that qualify for discriminatory and preferred treatment pursuant to 11 USC §1322(b)(1).
           The basis for separate classification is specified in Paragraph III.H of the Plan. See also Paragraph F of the
           Additional Terms, Conditions and Provisions for additional information concerning the timing of payments to be
           made on these claims.

 N.        GENERAL UNSECURED CREDITORS: Unless the Plan provides a dividend to holders of unsecured claims
           equal to 100% of allowed claims, the Plan shall produce a total sum for distribution to unsecured creditors
           (the “Unsecured Base Amount”). The Unsecured Base Amount shall be not less than the aggregate amount
           which creditors in this class would have received had the estate of the debtor been liquidated under Chapter
           7 of Title 11, United States Code. See 11 USC §1325(a)(4). Each holder of a duly filed and allowed
           unsecured claim shall receive the holder’s pro rata share of the Unsecured Base Amount, based on the
           creditor’s claim as a fraction of the total unsecured claims duly filed and allowed. The pro rata dividend for
           each holder of an allowed unsecured claim will be calculated by the Trustee upon review of allowed claims.

           This Plan shall provide either the total Unsecured Base Amount or shall continue for the Plan Length as
           stated in Paragraph II.A of the Plan, whichever will offer the greater dividend to unsecured creditors.



  P.       SURRENDER OF COLLATERAL: Those claims that are treated pursuant to 11 USC §1325(a)(5)(C)
           (surrender of collateral) are so designated in Class 5.5 of the Plan. Upon confirmation, the Automatic Stay
           and co-debtor Stay is lifted as to the collateral and any creditor holding a lien on the collateral and the
           collateral shall no longer constitute property of the estate. No disbursements shall be made by the Trustee to
           any creditor whose claim is secured by the collateral being surrendered unless the holder of such claim files a
           Proof of Claim (or Amended Proof of Claim) after the Effective Date of the Plan setting forth the amount of
           any deficiency remaining after disposition of the collateral. Any allowed deficiency claim shall be paid as a
           general unsecured claim in Class 9 of the Plan. A Proof of Claim or Amended Proof of Claim for any
           deficiency balance must be filed within sixty (60) days of the disposition of the collateral. See Federal Rule of
           Bankruptcy Procedure 3002.1.



 U.        DEBTOR DUTY TO MAINTAIN INSURANCE – REMEDY FOR FAILURE TO MAINTAIN INSURANCE:
           Debtor shall maintain all insurance required by law and contract upon property of the estate and the debtor's
           property.



 X.        DEADLINES IN EVENT OF CONVERSION: In the event of conversion of this case to a case under Chapter
           7 of the United States Bankruptcy Code, applicable deadlines shall be governed by Fed.R.Bankr.P. 1019.




I, George E. Jacobs, Attorney for Debtor (or Debtor if not represented by an attorney), certify that this Plan contains no
"Nonstandard Provisions" other than those set out in Section IV above.




Local Form 10-24-17 V 1
                                                                              7
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                           Best Case Bankruptcy

                 19-31852-jda                 Doc 6          Filed 08/05/19   Entered 08/05/19 14:11:21          Page 7 of 14
 /s/ George E. Jacobs                                                             /s/ Katrina Bolton
 George E. Jacobs (P36888)                                                        Katrina Bolton
 Attorney for Debtor                                                              Debtor
 2425 S. Linden Rd.
 Ste. C
 Flint, MI 48532
 Street Address
 Flint, MI 48532-0000                                                             Joint Debtor
 City, State and Zip Code
 george@bklawoffice.com
 E-Mail Address
 (810) 720-4333                                                                   Date
 Phone Number




Local Form 10-24-17 V 1
                                                                              8
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                Best Case Bankruptcy

                 19-31852-jda                 Doc 6          Filed 08/05/19   Entered 08/05/19 14:11:21   Page 8 of 14
                                                                              ATTACHMENT 1
                     LIQUIDATION ANALYSIS AND STATEMENT OF VALUE OF ENCUMBERED PROPERTY:

                                                                                                                   DEBTOR'S
                                                     FAIR MARKET                                                   SHARE OF                     EXEMPT       NON-EXEMPT
        TYPE OF PROPERTY                                VALUE                             LIENS                     EQUITY                      AMOUNT         AMOUNT

     PERSONAL RESIDENCE                             15,000                        20,000                       0                           0                0


 REAL ESTATE OTHER THAN
   PERSONAL RESIDENCE


   HHG/PERSONAL EFFECTS                              3150                         0                            3150                        3150             0


                 JEWELRY                            100                           0                            100                         100              0


     CASH/BANK ACCOUNTS                             10                            0                            10                          10               0


                VEHICLES                            5000                          6000                         0                           0                0


            OTHER (itemize)


 401k: work provided


 Federal and State: 2018 tax
 refund




              OTHER (total)



                         Amount available upon liquidation ............................................................................              $                        0.00

                         Less administrative expenses and costs......................................................................                $                       3500

                         Less priority claims ....................................................................................................   $                        0.00

                         Amount Available in Chapter 7 .................................................................................             $                        0.00




Local Form 10-24-17 V 1
                                                                                               9
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                           Best Case Bankruptcy

                 19-31852-jda                 Doc 6           Filed 08/05/19                  Entered 08/05/19 14:11:21                              Page 9 of 14
                                                                          ATTACHMENT 2

                                                           CHAPTER 13 MODEL WORKSHEET
                                                       LOCAL BANKRUPTCY RULE 3015-1(B)(2) E.D.M
 1.          Proposed length of Plan:                                   60        months

 2.          Initial Plan Payment:
            $ 467 per month x 60 months = $ 28,020                           (subtotal)

             Additional
 3.          Payments:                 $                        per=$(subtotal)                                      28,020

 4.          Lump sums payments                                                                                                          $0.00

 5.          Total to be paid into Plan (total of lines 2 through 4)                                                                  $28,020

 6.          Estimated disbursements other than to Class 9 General Unsecured Creditors

             a. Estimated Trustee Fees                                                           $2382

             b. Estimated Attorney Fees and costs through
                confirmation of plan                                                          $3,500.00

             c. Estimated Attorney Fees and costs post-confirmation
                through duration of Plan                                                      $1,500.00

             d. Estimated fees of other Professionals                                            $0.00

             e. Total mortgage and other continuing secured debt
                payments                                                                       $18,300

             f. Total non-continuing secured debt payments
                (including interest)                                                                 $

             g. Total priority claims                                                            $0.00

             h. Total arrearage claims                                                        $1200.00
             Total disbursements other than to Class 9 General Unsecured Creditors
 7.          (Total of lines 6.a through 6.h)                                                                        $                 26,882

             Funds estimated to be available for Class 9 General Unsecured Creditors
 8.          (Line 5 minus Line 7)                                                                               $                        1138

             Estimated dividend to Class 9 General Unsecured Creditors in Chapter 7 proceeding
 9.          (see Liquidation Analysis on page 6)                                                                $                         0.00


COMMENTS:




Local Form 10-24-17 V 1
                                                                                    10
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                        Best Case Bankruptcy

               19-31852-jda                 Doc 6           Filed 08/05/19          Entered 08/05/19 14:11:21   Page 10 of 14
                                                             V. ADDITIONAL STANDARD PROVISIONS

                                       THE FOLLOWING STANDARD PROVISIONS ARE APPLICABLE TO
                                      ALL PLANS AND PRE-CONFIRMATION MODIFIED PLANS FILED ON
                                           OR AFTER DECEMBER 1, 2017, IN THE UNITED STATES
                                      BANKRUPTCY COURT FOR THE EASTERN DISTRICT OF MICHIGAN



 B.        ALLOWANCE AND PAYMENT OF PRE-CONFIRMATION ATTORNEY FEES: If Class 2.1 of the Plan indicates that
           Counsel intends to file a Separate Application for compensation for services rendered up through the date of entry
           of the Order Confirming Plan pursuant to 11 USC §327 and §330, the Trustee shall withhold the amount
           designated in Class 2.1 from funds remaining after payment of claims required to be paid prior to attorney fees
           pending further Order of Court

  C.       RETENTION AND COMPENSATION OF OTHER PROFESSIONALS FOR POST-PETITION PRE-
           CONFIRMATION SERVICES: If Class 2.3 indicates that debtor has retained or intends to retain the services
           of any Professional (as that term is defined in 11 USC §327) to perform professional services after the
           commencement of this case, debtor will file a timely Application to Employ Professional Person stating the
           identity of the person to be retained and the capacity or purpose for retention, accompanied by a Certification
           of Disinterestedness signed by the Professional and obtain Court permission to retain the Professional. The
           Professional may seek compensation in an amount not to exceed $400.00 by filing a Proof of Claim
           designated as an Administrative Expense without further notice, hearing or Order of Court. If the Professional
           seeks compensation in excess of $400.00, the Professional shall file an Application for Compensation for
           services rendered pursuant to 11 USC §327.



 E.        PAYMENT OF ADMINISTRATIVE EXPENSE CLAIMS: Administrative Expense Claims as defined in 11 USC §503,
           other than those claims provided for in Paragraphs B, C and D of these Additional Terms, Conditions and
           Provisions, will be deemed allowed and will be paid only upon entry of a specific Order of this Court determining
           the allowance and amount of that claim.

 G.        SECURED CLAIMS TO BE STRIPPED OR AVOIDED FROM THE COLLATERAL AND TREATED AS UNSECURED:
           Claims for which the creditor holds a lien that is listed as “Stripped” in Class 3.1 or “Avoided” in Class 3.2 are
           avoided and will be paid as a General Unsecured Creditor as provided in Class 9 of the Plan. Upon completion of
           the Plan, the creditor will record a Satisfaction of the Lien in the applicable Public Records to discharge and release
           the lien. If the creditor fails to do so, the debtor may file a motion for an order declaring that the lien has been
           satisfied by completion of the confirmed Plan, which the debtor may then have certified and recorded in the
           applicable Public Records.

 H.        CLASS 5.1, CLASS 5.3 AND CLASS 6.1 CREDITORS SPECIFIED TO RECEIVE EQUAL MONTHLY
           PAYMENTS: Creditors identified in Class 5.1, Class 5.3, and Class 6.1 will receive Equal Monthly Payments
           to the extent funds are available at the date of each disbursement. If more than one creditor is scheduled in
           Class 5.1, Class 5.3, and Class 6.1 and the funds available in any disbursement are insufficient to pay the full
           Equal Monthly Payments to all of the listed creditors, payments shall be made on a pro rata basis determined
           by the ratio of the Equal Monthly Payment specified to each creditor to the total amount of Equal Monthly
           Payments to all creditors scheduled in Class 5.1, Class 5.3, and Class 6.1. The amount of the Equal Monthly
           Payment to any creditor shall be the amount stated in Class 5.1, Class 5.3, and Class 6.1 as may be
           applicable and the amount of the Equal Monthly Payment specified in the Plan will supersede any monthly
           payment amount specified in a Proof of Claim at variance with the Equal Monthly Payment amount set forth in
           the Plan unless otherwise Ordered by the Court.

           The monthly post-confirmation disbursement to any creditor designated in Class 5.1, Class 5.3, and Class 6.1 will
           not exceed the Equal Monthly Payment amount for that creditor for the month in which disbursement is being

Local Form 10-24-17 V 1
                                                                             11
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                   Best Case Bankruptcy

               19-31852-jda                 Doc 6           Filed 08/05/19   Entered 08/05/19 14:11:21   Page 11 of 14
           made plus any previously unpaid Equal Monthly Payments accruing before the date of disbursement.

  I.       APPLICATION OF DISBURSEMENTS BY CREDITORS: Creditors shall apply all disbursements under the Plan only
           in the manner consistent with the terms of the Plan and to the account(s) or obligation(s) as designated on the
           voucher or check provided to the Creditor with each disbursement.

  J.       COMPLETION OF PLAN: For purposes of 11 USC §1328, the debtor shall be deemed to have completed all
           payments under the Plan:

                1.     Upon the expiration of the Plan Length as defined in Paragraph II.A of the Plan commencing on the date of entry
                       of the Order Confirming Plan; and

                2.     Debtor has remitted all Plan payments (as defined in Paragraph II.A and II.B of the Plan) coming due after the date
                       of entry of the Order Confirming Plan; and

                3.     Debtor has remitted all Federal Income Tax Refunds as required by Paragraph II.C of the Plan and Paragraph A of
                       these Additional Terms, Conditions and Provisions; and

                4.     Debtor has remitted a sum sufficient to pay all allowed claims as amended and/or supplemented as provided in the
                       Plan.



  L.       SECURED CLAIMS – POST-PETITION FEES, COSTS AND CHARGES:

           1.        Any Supplement to Claim that is filed with the Court as to which there is no objection filed or as to which any
                     objection has been overruled, shall be deemed allowed.

           2.        If Class 4.1, 4.3, 5.1, 5.2, 5.3 or 5.4 provides for the Creditor’s Secured Claim to be paid by the Trustee, the
                     Supplement to Claim as filed and allowed shall be paid by the Trustee over the remaining term of the Plan.

           3.        If Class 4.1, 4.3, 5.1, 5.2, 5.3 or 5.4 provides for the Creditor’s Secured Claim to be paid directly by the debtor to the
                     creditor, the Supplement to Claim as filed and allowed shall be paid directly by the debtor to the creditor before
                     completion of the Plan. If there is a balance outstanding on the Supplement to Claim as of the completion of debtor’s
                     confirmed Chapter 13 Plan, this balance shall not prevent or preclude the entry of a discharge in this case; instead,
                     any unpaid balance shall be non-dischargeable.



 O.        VESTING, POSSESSION OF ESTATE PROPERTY AND LIEN RETENTION: Upon the Effective Date of the
           Plan, all property of the estate shall vest in the debtor and shall cease to be property of the estate. The debtor
           shall remain in possession of all property during the pendency of this case unless specifically provided herein,
           and shall not seek to sell, transfer or otherwise dispose of such property (except in the ordinary course of
           debtor’s business) without prior Court approval.



 Q.        PROHIBITION AGAINST INCURRING POST-PETITION DEBT: While this case is pending, the debtor shall not
           incur a debt in excess of $2,000.00 without first obtaining approval of either this Court or of the Chapter 13
           Trustee. If the Chapter 13 Trustee stipulates to entry of an Order allowing debtor to incur post-petition debt,
           debtor shall be permitted to file the Stipulation signed by the Trustee and to submit an Order to the Court on an ex
           parte basis without notice to creditors or other parties in interest.

 R.        UNSCHEDULED CLAIMS: If an unscheduled proof of claim is filed, the Trustee is authorized to exercise sole
           discretion to classify the claim into one of the existing classes under this Plan and to schedule the claim for
           payment within that class, without prejudice to debtor’s right to object to the allowance of the claim and/or to

Local Form 10-24-17 V 1
                                                                             12
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                Best Case Bankruptcy

                 19-31852-jda               Doc 6           Filed 08/05/19   Entered 08/05/19 14:11:21               Page 12 of 14
           modify the Plan to provide a different treatment.

  S.       PROOFS OF CLAIM FILED AT VARIANCE WITH THE PLAN: In the event that a Proof of Claim is filed and
           allowed that is at variance with the provisions of this Plan, the following method is to be employed to resolve
           the conflict:

           1.    Regarding claims for which the Plan does not propose a "cramdown" or modification, the Proof of Claim shall
                 supersede the Plan as to the claim amount, percentage rate of interest, monthly payments, valuation of collateral and
                 classification of the claim.

           2.    As to claims for which the Plan proposes a "cramdown" or modification, the Proof of Claim governs only as to the
                 claim amount. The Plan governs valuation, interest rate and any other contractual term.

           3.    If a Proof of Claim is filed that is at variance with this Plan or related schedules, the Trustee shall automatically treat
                 that claim as the holder indicated, unless provided otherwise in the confirmed Plan; these Additional Terms,
                 Conditions and Provisions; or by Order of Court.

           4.    As to claims specified in Class 3.1 or Class 3.2 (Secured Claims to be Stripped or Avoided), the Proof of Claim shall
                 control only as to the allowed amount of the claim. See also Paragraph G of the Additional Terms, Conditions and
                 Provisions for additional information concerning payments to be made on these claims.



 T.        TAX RETURNS AND TAX SET-OFFS: All Tax Returns which have become due prior to the filing of the Plan
           have been filed. The Internal Revenue Service and the United States Department of Treasury are prohibited
           from setting off against post-petition Tax Refunds for payment of pre-petition tax obligations.



 V.        SECURED CREDITORS, LESSORS AND PARTIES TO EXECUTORY CONTRACTS UPON ENTRY OF
           ORDER LIFTING AUTOMATIC STAY: Any secured creditor and any party to an assumed executory contract
           or unexpired lease as to whom the Automatic Stay is lifted shall not receive any further disbursements until a
           Proof of Claim for the balance remaining after liquidation of the collateral is filed.



W.         PROVIDING FUTURE TAX RETURNS TO TRUSTEE: Debtor shall timely file each Federal Income Tax
           Return required to be filed under applicable law during the pendency of this case, and shall provide to the
           Trustee a copy of each Return at the same time the Return is filed with the taxing authority.



 Y.        OBJECTIONS TO PROOFS OF CLAIM: Any party in interest shall have the right to object to Proofs of Claim.
           Confirmation of this Plan shall not constitute a waiver of any objection and shall not constitute or have any res
           judicata or collateral estoppel effect on or against any objection to Proof of Claim. If any objection to Proof of
           Claim is filed and sustained, in whole or in part, after the Trustee has begun making disbursements under this
           Plan as confirmed, Trustee shall have no obligation or duty to recoup any payments or disbursements made to
           the creditor whose Proof of Claim was the subject of the objection.



  Z.       CREDITOR’S AUTHORIZATION TO CONTACT DEBTOR: Notwithstanding the provisions of the Automatic Stay
           and co-debtor Stay, creditors holding claims in Classes 4 and 5 for which the debtor proposes to retain the
           collateral and parties to any assumed unexpired lease or executory contract in Class 6 may contact debtor for
           purposes of sending periodic statements and annual or periodic summaries of accounts including but not limited
           to account reconciliations pursuant to the Real Estate Settlement Procedures Act.

Local Form 10-24-17 V 1
                                                                             13
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                             Best Case Bankruptcy

                19-31852-jda                Doc 6           Filed 08/05/19   Entered 08/05/19 14:11:21            Page 13 of 14
AA.        IDENTITY OF DISBURSING AGENT: All claims in all classes of creditors shall be paid by the Trustee as
           Disbursing Agent except those claims which are specified to be paid directly by either the debtor or a third
           party, in which event the debtor or third party making those payments shall be the Disbursing Agent for those
           claims.



BB.        SPECIAL PROVISIONS APPLICABLE TO GOVERNMENTAL UNITS RESPONSIBLE FOR ENFORCING
           DOMESTIC SUPPORT OBLIGATIONS: Notwithstanding the provisions of 11 USC §362 and §1327, the
           Automatic Stay is modified to permit any governmental unit or agency responsible for enforcing a domestic
           support obligation to send notices, to take other actions to the extent not inconsistent with the terms of the
           Plan, and to collect domestic support obligations from property that is not property of the estate.



CC.        PRE- AND POST-PETITION LITIGATION AND CAUSES OF ACTION: Debtor and the Chapter 13 Trustee shall have
           concurrent standing to prosecute all Pre- and Post-Petition causes of action, including but not limited to actions
           arising under Title 11, United States Code. Any compromise or settlement of any litigation or cause of action shall
           be subject to the provisions of Federal Rule of Bankruptcy Procedure 9019. Any proceeds or damages recovered
           by or on behalf of the debtor shall be retained pending Order of the Bankruptcy Court.

DD.        SUBSTANTIVE CONSOLIDATION OF JOINTLY FILED CASES: If this case has been filed jointly by a
           husband and wife pursuant to 11 USC §302, entry of an Order Confirming Plan shall also constitute an Order
           for Substantive Consolidation of the debtors.



EE.        NON-APPLICABILITY OF FEDERAL RULE OF BANKRUPTCY PROCEDURE 3002.1: The requirements
           and provisions of Federal Rule of Bankruptcy Procedure 3002.1 shall not apply to any property that the Plan
           as confirmed surrenders to the Creditor as provided in 11 USC §1325(a)(5)(C); or to any property as to which
           the Automatic Stay is lifted for purposes of allowing the secured creditor to exercise rights and remedies
           pursuant to applicable State Law, regardless of whether the Order Lifting Automatic Stay is entered before or
           after entry of an Order Confirming the Plan.



FF.        TIME TO CURE PARAMOUNT: For any class of claims where the Months to Cure From Confirmation Date
           may be specified, if the Plan does not specify the number of months to cure, the Months to Cure From
           Confirmation Date shall be the Plan Length specified in Paragraph II.A of the Plan. For any class of claims or
           creditors for which the Plan specifies an Estimated Average Monthly Payment that is inconsistent with or
           contradicts the Months to Cure From Confirmation Date, the Months to Cure From Confirmation Date controls.
           The Chapter 13 Trustee is authorized to make any changes to the amount of disbursements to the creditor to
           implement this provision.



GG.        SECURED CLAIMS EXCLUDED FROM 11 USC § 506 BY THE “HANGING PARAGRAPH” AT THE END
           OF 11 USC §1325 (a)(9): Claims treated in Class 5.3 or Class 5.4 are claims that were either (1) incurred
           within 910 days before the petition date and secured by a purchase money security interest in a motor vehicle
           acquired for the personal use of the debtor, or (2) incurred within 1 year of the petition date and secured by a
           purchase money security interest in any other thing of value.




Local Form 10-24-17 V 1
                                                                             14
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                               Best Case Bankruptcy

               19-31852-jda                 Doc 6           Filed 08/05/19   Entered 08/05/19 14:11:21   Page 14 of 14
